Case 2:04-cr-20009-STA Document 68 Filed 08/15/05 Page 1 of 3 Page|D 65

' _,_BB
IN THE UNITED sTATES DISTRICT cOURT mg B"*"”"i
FOR THE wEsTERN DISTRICT OF TENNESSEE _
wEsTERN DIVISION 05 AUG l5 AHU¢SS

l J‘~¢"\l ll h

nis”?iuwxv
.S. D%STRU CU.BT
CLERK U M

UNITED sTATES oF AMERICA WDOFTN.MF-

Plaintiff,

Criminal No. M- ZOMi-Ml

`V'.

/JEMW F(/{f\c @Veor

 

 

 

 

VWVVVVVVVVVVVVVVVVVW

Defendant(s).

 

CONSENT ORDER ON C‘RIMINAL CASE CONTIN'UANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the August, 2005,
criminal rotation calendar, but is now RESET for report at §igg
a.m. on Fridav, August 26, 2005, with trial to take place on the
September, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through September 16, 2005. Agreed in open court

at report date this 15th day of August, 2005.

n the docket sheet ln 'Ymp|ianca

Thls document entered 0 `

with Ru\e E.~F and/or 32(10) FFlCrP nn “ J

Case 2:04-cr-20009-STA Document 68 Filed 08/15/05 Page 2 of 3 Page|D 66

so ORDERED this 15th day of August, 2005.

/QYQW@QQ

JON HIPPS MCCALLA
UNI ED STATES DIS'I'RICT JU'DGE

 

€M,£&f

743/§ A‘<\~f/

Assistant United States Attorney

 

 

 

Counsel for Defendant(s)

ISTRIC COUR - WESTERN D's'TRCT oFTENNESSEE

thice of Distribution

This notice confirms a copy of the document docketed as number 68 in
case 2:04-CR-20009 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

Stephen A. Sauer

LAW OFFICE OF STEPHEN A. SAUER
8 S. Third St.

4th Floor

l\/lemphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

